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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

THOMSON REUTERS ENTERPRISE                         )
CENTRE GMBH and WEST PUBLISHING                    )
CORPORATION,                                       )
                                                   )
                       Plaintiffs,                 )
                                                   )
       v.                                          )    C.A. No. 20-613 (LPS)
                                                   )
ROSS INTELLIGENCE INC.,                            )
                                                   )
                       Defendant.                  )


                  PLAINTIFFS’ RENEWED MOTION TO DISMISS
            DEFENDANT’S ANTITRUST AND STATE LAW COUNTERCLAIMS


       On January 25, 2021, Defendant ROSS Intelligence Inc. filed amended counterclaims.

D.I. 24. On March 25, 2021, Plaintiffs Thomson Reuters Centre GmBH and West Publishing

Corporation moved to dismiss with prejudice Defendant’s Sherman Act and state law unfair

competition counterclaims. D.I. 27 & 28. Defendant responded to Plaintiffs’ motion to dismiss

on April 22, 2021. D.I. 38. Plaintiffs will file their reply brief in support of their motion on May

13, 2021.

       In the interim, on April 12, 2021, Defendant filed an Amended Answer and Defenses and

Amended Counterclaims in Response to Plaintiffs’ Complaint and Demand for Jury Trial. D.I.

36.   Defendant’s amended counterclaims, D.I. 36, are identical to its original amended

counterclaims, D.I. 24.

       To the extent necessary, and to avoid duplicative briefing, Plaintiffs renew their motion

to dismiss Defendant’s Sherman Act and state law unfair competition counterclaims, D.I. 27, and

incorporate the related briefs by reference, D.I. 28.
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April 26, 2021




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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 26, 2021, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on April 26,

2021, upon the following in the manner indicated:

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